           Case 4:16-cv-02708 Document 1-1 Filed in TXSD on 09/07/16 Page 1 of 24




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CDRPDRATIOll SERVICE COMPANY .

                                                                                                                            HZC I ALL
                                                                                                         Transmittal Number: 15533144
Notice of Service of Process                                                                                Date Processed: 08/22/2016


Primary Contact:             Bruce Buttaro
                             Liberty Mutual Insurance Company
                             175 Berkeley Street
                             Boston, MA 02166

Entity:                                         Liberty Insurance Corporation
                                                Entity ID Number 2538339
Entity Served:                                  Liberty Insurance Corporation
Title of Action:                                Patricia Turner vs. Liberty Insurance Corporation
Document(s) Type:                               Citation/Petition
Nature of Action:                               Contract
Court/Agency :                                  Harris County District Court, Texas
Case/Reference No:                              2016-53012
Jurisdiction Served:                            Texas
Date Served on CSC:                             08/22/2016
Answer or Appearance Due :                      10:00 am Monday next following the expiration of 2 1 days after service
Originally Served On:                           csc
How Served:                                     Certified Mail
Sender Information:                             Chad T. Wilson
                                                832-415-1432

Information contained on this transmittal form is for record keeping , notification and forwarding the attacl .-~d document(s) . It does not
constitute a legal opinion . The recipient is responsible for interpreting the documents and taking appropnc:1te action.

                               To avoid potential delay, please do not send your response to CSC
                        2711 Centerville Road Wilmington, DE 19808 (888) 690-2882 J sop@cscglooal.com




                                                                                                                                    EXHIBIT

                                                                                                                             i
                                                                                                                             :I        A
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                                                  CAUSE NO.               201653012

                                                  RECEIPT NO.                                           75.00          CTM
                                                                  **********                            TR # 73277289
PLAINTIFF: TURNER, PATRICIA                                                                   In The    125th
        vs.                                                                                   Judicial District Court
DEFENDANT: LIBERTY INSURANCE CORPORATION                                                      o.f Harris County, Texas
                                                                                              125TH DISTRICT COURT
                                                                                              Houston, TX
                                                 CITATION (CERTIFIED)
THE STATE OF TEXAS
County of Harris



TO: LIBERTY INSURANCE CORPORATION MAY BE SERVED THROUGH ITS REGISTERED
    AGENT CORPORATION SERVICE COMPANY

        211         EAST 7TH STREET SUITE 620    AUSTIN          TX      78701 - 3218
        Attached is. a copy of PLAINTIFF'S ORIGINAL PETITION REQUEST FOR· DISCLOSURE AND JURY DEMAND


This instrument was filed on the 10th day of August. 2016, in the above cited cause number
and court. The instrument attached describes the claim against you.

     YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken aga i nst you.

TO OFFICER SERVING:
      This citation was issued on 15th day of August, 2016, under my hand and
seal of said Court.


                                                        ...--C)fti'Afi··...._,
                                                    /   ~ ---·~- i9{r \
Issued at request of:                             '/~1u·
                                                   () ! "\'b\
                                                          \ c:: l                   CHRIS DANIEL, District Clerk
                                                  I'-    i                 ;~!
                                                                                    Harris County, Texas
WILSON, CHAD TROY                                  '-%.\                 /'"'C'i
1322 SPACE PARK DRIVE SUITE Al55                   \;.s}~···. . . . . .-·";t>":/    201 Caroline, Houston, Texas 77002
                                                                                    (P.O. Box 4651, Houston, Texas 77210)
                                                        ...........___::..-~/
HOUSTON, TX 77058
Tel: (832) 415-1.432
Bar No.: 24079587                                            Generated By: FRANKLIN, .KRYSTAL GAYLE             QSI//10455518.


                                                CLERK'S RETURN BY MAILING
Came to hand the         day of                                          , and executed by
mailing to Defendant certified mail, return receipt requested, restricted delivery, a true
copy   of   this    citation    together    with   an   attached   copy   of
 PLAINTIFF'S ORIGINAL PETITION REQUEST FOR DISCLOSURE AND JURY DEMAND
to the following addressee at address:


                                                              ADDRESS

                                                              Service was executed in accordance with Rule 106
(a)ADDRESSEE                                                     (2) TRCP, upon the Defendant as evidenced by the
                                                                   return receipt incorporated herein and attached
                                                                  hereto at


                                                               on     day of
                                                               by ~ostal de l ivery to


                                                               This citation was not executed for the following
                                                               reason:


                                                              CHRIS DANIEL, District Clerk
                                                              Harris County, TEXAS

                                                              By




N . INT.CITM . I?                                                                •132n2s9•
    Case 4:16-cv-02708 Document 1-1 Filed in TXSD on 09/07/16 Page 3 of 24

                                                CAUSE NO .     201653012                                       QIL
                                                RECEIPT NO.                                    75.00           CTM
                                                           **********                          TR li 73277362
 PLAINTIFF: TURNER , PATRICIA                                                      In The    125th
         vs.                                                                       Judicial District Court
 DEFENDANT: LIBERTY INSURANCE CORPORATION                                          o f Harris Co unty , Texa s
                                                                                   125TH DISTRICT COURT
                                                                                   Houston, TX
                                              CITATION (CERTIFIED)
 THE STATE OF TEXAS
 County of Harris




 TO: MAXWELL, AIMEE

        11655     WEST 100 NORTH,   KOKOMO     IN   46901·
        Attached is a copy of PLAINTIFF ' S ORIGINAL PETITION REQUEST FOR DISCLOSURE AND JURY DEMAND


 Thi s in s trument was filed on the 10th day of Augu s t . 2016 , in the above cited cause number
 and court . The instrument attached describes the claim against you.

      YOU HAVE BEEN SUED , You may employ an attorney. If you or your attorney do not fi l e a
 written answer with the District Clerk who issued this citation by 10:00 a . m on the Monday
 next fo l lowing the expiration of 20 days afte r you were served this citation and petition ,
 a defau l t judgment may be taken against you.
 TO OFFICER SERVING:
       This citation was issued on 15th day of A.ugust, 2016, under my hand and
 seal of said Court .




 Issued at r equest of :                                                CHRIS DANIEL , District Clerk
 WILSON, CHAD TROY                                                      Harris County , Texas
 1322 SPACE PARK DRIVE SUITE A155                                       201 Caroline , Houston , Texas 77002
 HOUSTON , TX 77058                                                     (P . O. Box 4651, Houston, Texas 77210)
 Tel: (832) 415 - 1432
 Bar No.: 24079587                                   Generated By: FRANKLIN, KRYSTAL GAYLE              Q8I//10455518


                                             CLERK'S RETURN BY MAILING
Came to han d the           day of                                            , and executed by
mai l ing t o Defendant certified mail , return receipt requested , restricted delivery , a true
copy     of    this    citation     together    with   an   attached    copy   of
 PLAINT I FF'S ORIGINAL PETIT I ON REQUEST FOR DISCLOSURE AND JURY DEMAND
to the following addressee at address:


                                                      ADDRESS

                                                      Service was executed in accordance with Rule 10 6
 (a) ADDRESSEE                                           (2) TRCP, upon the Defendant as evidenced by the
                                                          return receipt incorporated herein and attached
                                                          hereto at


                                                      on           day o f
                                                      by u.s:-Post~l delivery to - - - -·---··--....,   _______
                                                      This citation was not executed for th e following
                                                      reason:


                                                      CHRIS DAN I EL , District CJ.erk
                                                      Harris County , TEXAS

                                                      By ---------------~                                 , Deputy




N. INT .CITM. P                                                  *73277362*
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                                                                                                     8/10/2016 3 :37 :38 PM
                                                                               Chris Daniel · Distric1 Clerk Harris Coun1y
                                                                                                  Envelope No . 12100984
                           2016-53012 I Court: 125                                                      By: Krys1al Franklin
                                                                                             Filed : 8/10/2016 3 :37:38 PM




PA TRICIA TURNER,             §                                      JN THE DISTRICT COURT
     Plaintiff,               §
                              §
v.                            §
                              §                                      HARRIS COUNTY, TEXAS
LIBERTY INSURANCE CORPORATION § ·
and AIMEE MAXWELL,            §
     Defend ants,             §                                      _ _ DISTRICT COURT




                  PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND,
                         AND REQUEST FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Patricia Turner, Plaintiff herein, and files Plaintifrs Original Petition,

Jury Demand, and Request for Disclosure. complaining of Liberty Insurance Corporation

("Liberty") and Aimee Max well ("Maxwell") (or collectively "Defendants") and for cause of action ,

Plaintiff respectful! y shows the following:

                                DISCOVERY CONTROL PLAN

1.     Plaintiff intends to conduct discovery under Level 3,,Texas Rules of Civil Procedure 190.4

       and 169.

                                               PARTIES

2.     Plaintiff, Patricia Turner, resides in Hanis County, Texas.

3:     Defendant, Liberty Insurance Corporation, is a Texas insurance company. engaged in the

       business of insurance in lhe Slate of Texas. Plaintiff requests service of citation upon

       Liberty, through its registered agent for service, Corporation Service Company, 211 East

       7th Street, Suite 620, Austin, Texas 78701-3218. Plaintiff requests service at th is time.
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4.   Defendant, Aimee Maxwell, is an adjuster .wh.o resides in Kokomo, Indiana. Plaintiff

     requests service of citation upon Aimee Maxwell at the address listed with the Texas

     Department of Insurance: 11655 West 100 North, Kokomo, Indiana 46901 . Plaintiff

     requests service at this time.

                                       JURISDICTION

5.   The Court has jurisdiction over Liberty Insurance Corporation because this Defendant

     engages in the business of insurance in the State of Texas, and the causes of action arise

     out of Defendant's business activities in the state, including those in Hanis County, Texas,

     with reference to this specific case.

6.   The Court has jurisdiction over Aimee Maxwell because this Defendant engaged in the

     business of adjusting insurance claims in the State of Texas, and the causes of action arise

     out of her business activities in the State of Texas, including those in Harris County, Texas,

     with reference to this specific case.

                                             VENUE

7.   Venue is proper in Harris County. Texas, because the insured property is located in Ha1Tis

     County, Texas, and all or a substantial pat1 of the events giving rise to this lawsuit occurred

     in Harris County, Texas. TEX. CIV. PRAC. & REM . CODE§ 15.032.

                                             FACTS

8.   Plaintiff asserts claims for fraud, breach of contract. negligence. gross negligence,

     negligent hiring, violations of sections 541 and 542 of the Texas Insurance Code, and

     violations of the Texas DTPA.




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9.       Plaintiff owns a Liberty Insurance Corporation homeowner's insurance policy, number

         H3729815 l 27740 ("the Policy"), which was issued by Lihet1y. At all relevant limes,

         Plaintiff owned the insured premises located at 13915 River Keg Drive, Houston, Texas

         77083 ("the Property").

10.      Liberty or its agent sold the Policy. insuring the Property, to Plaintiff. Liberty represented

         to Plaintiff that the Policy included hail and windstorm coverage for damage to Plaintiff's

         home.

11.      On or about August 11, 2015, the Properly sustained extensive damage resulting from a

         severe stonn that passed through the Harris County. Texas, area .

12.      In the aftermath of the hail and windstorm, ·Plaintiff submitted a claim to Liberty against

         the Policy for damage to the Property. Liberty assigned claim number 033204407-01 to

         Plaintiff's claim.

13.      Plaintiff asked Liberty to cover the cost of damage to the Prope11y pursuant to the Policy.

14.      Liberty hired or assigned its agents, namely MaxwelL to· inspect and adjust the claim.

         Maxwell conducted an inspection on or about January 30, 2016. according to the

         infonnation contained in her estimate.        Maxwell's findings generated an estimate of

         damages totaling $13,468.28 . After application of depreciation and deductible of $1,694.00

         Plaintiff was left with only $4,520.69 to make necessary repairs on her home.

15.      Liberty, through its agent, Maxwell. conducted a substandard and improper inspection of

         the Property, which grossly undervalued the cost of repairs in its estimate and yielded an

         unrealistic amount to underpay coverage.




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16.   Liberty and Maxwell have ultimately refused full coverage which includes, but is not

      limited to, replacement of the roof and additional exterior damage. Specifically. Maxwell

      undervalued the cost of replacing the following: shingles, drip edge, gutter apron, roofing

      felt, valley metal, gutters, down spouts, windows, and repairing and repainting exterior

      fascia. The third party estimator hired to review the damage to the Property found

      $26,836.53 of damage to Plaintiff's roof and exterior, or more than double Maxwell's

      estimate of damages. In addition, the third pmty estimator found damage to the Plaintiff's

      outdoor shed and fencing that were completely absent from Maxwell's estimate.

17.   The damage to Plaintiffs Property is currently estimated at $38,642.24.

18.   Maxwell had a vested interest in undervaluing the claims assigned to her by Libc11y in

      order to maintain her employment. The disparity in the number of damaged items in her

      report compared to that of the third party estimator's as well as the difference in valuation

      is evidence of fraud on the part of Max well.

19.   Furthermore, Maxwell was aware of Plaintiff's deductible prior to inspecting the Property.

      Maxwell had advanced knowledge of the damages she needed to document in order to be

      able to deny the claim.

20.   Maxwell misrepresented the actual amount of damage Plaintiffs Property sustained in

      addition to how much it would cost to repair the damage. Max well made these

      misrepresentations as a licensed Texas adjuster with the hope that Plaintiff would rely on

      her expertise and accept the fraudulent estimate as a true representation of the damages.




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2 l.   After reviewing Plaintiffs Policy, Max well misrepresented that the damage was caused by

       non-covered perils. Maxwell used her expertise to fabricate plausible explanations for why

       visible damage to Plaintiff's Property would not be covered under the policy.

22.    As stated above, Liberty and Maxwell improperly and unreasonably adjusted Plaintiff's

       claim . Without limitation, Liberty and Maxwell misrepresented lhe cause of, scope of, and

       cost to repair damages to Plaintiff's Property, as well as the amount of insurance coverage

       for Plaintiff's claim or loss under the Policy.

23.    Liberty and Maxwell made these and other false representations to Plaintiff, either

       knowingly or recklessly. as a positive assertion, without knowledge of the truth. Libe1ty

       and Maxwell made these false representations with the intent that Plaintiff act in

       accordance with the misrepresentations regarding the grossly deficient damage and repair

       estimates prepared Maxwell.

24.    Plaintiff relied on Liberty and Maxwell's misrepresentations, including but not limited to

       those regarding coverage, the cause of, scope of. and cost to repair the damage to Plaintiff's

       Property.   Plaintiff's damages     arc   the     result   of Plaintifrs reliance   on · these

       misrepresentations .

25 .   Upon receipt of the inspection and estimate reports from Maxwell , Liherty failed to assess

       the claim thoroughly.     Based upon Maxwell's grossly unreasonable, intentional, and

       reckless failure to investigate the claim properly prior to underpaying coverage, Lihcrty

       failed to provide coverage due under the Policy, and Plaintiff suffered damages .

26.    Because Liberty and Maxwell failed to provide coverage for PlaintiE 's insurance claim,

       Plaintiff has been unable co complete any substantive repairs to the Property. This has


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       caused additional damage to Plaintiff's Prope11y.                       '·

27.    Fmthermore, Liberty and Maxwell failed to perform their contractual duties to Plaintiff

       under the terms of the Policy. Specifically, Maxwell performed an unreasonable and

       substandard inspection that allowed Liberty to refuse to pay full proceeds due under the

       Policy, although due demand was made for an amount sufficient to ·cover the damaged

       Property, and all conditions precedent to recover upon the Policy were carried out by

       Plaintiff.

28.    Liberty and Maxwell's misrepresentations, unreasonable delays, and continued denials

       constitute a breach of the statutory obligations under Chapters 54 I and 542 of the Texas

       Insurance Code. Thus, the breach of the statutory duties constitutes the foundation of a

       breach of the insurance contract between Defendant and Plaintiff.

29.    Liberty and Maxwell's conduct constitute a violation of the Texas Insurance Code, Unfair

       Settlement Practices. TEX. INS. CODE §541.060(a) (1). Liberty and Maxwell have failed

       to settle Plaintiff's claim in a fair manner, although they were aware of their liability to

       Plaintiff under the Policy. Specifically, Liberty and Maxwell have failed to, in an honest

       and fair manner, balance their own interests in maximizing gains and limiting

       disbursements, with the interests of Plaintiff hy failing to timely pay Plaintiff coverage due

      · under the Policy.

30.    Liberty and Maxwell's conduct constitute a violation of the Texas Insurance Code, Unfair

       Settlement Practices. TEX. INS. CODE §54 l.060(a) (2) (A) . Liberty and Maxwell failed

       to provide Plaintiff a reasonable explanation for underpayment of the claim.
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31.    Additionally, after Liberty received statutory demand on or about June 9. 2016, Liberty has

       not communicated that any future settlements or payments would he forthcoming to pay

       for the entire loss covered under the Policy. nor did it provide any explanation for failing

       to settle Plaintiff's claim properly.

32.    Liberty and Maxwell's conduct constitute a violation of the Texas Insurance Code, Unfair

       Settlement Practices. TEX. INS. CODE §54l.060(a) (4). Maxwell performed a biased

       and intentionally substandard inspection designed to allow Libe11y to refuse to provide full

       coverage lo Plaintiff under the Policy.

33 .   Specifically, Liberty and Maxwell perfonned an outcome-oriented investigation of

       Plaintiffs claims, which resulted in a biased. unfair, and        incqu~table   evaluation of

       Plaintiffs losses on the Property.

34.    Liberty's conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of

       Claims. TEX. INS. CODE §542.055 . Due lo Maxwell subpar inspection, Liberty failed

       to reasonably accept or deny Plaintiff's full and entire claim within the statutotily mandated

       time after receiving all necessary information.

35.    Liberty's conduct constitutes a violation of the Texas Insurance Code, Prompt Payment of

       Claims. TEX . INS. CODE §542.056. Due to Maxwell's intentional undervaluation of

       Plaintiff's claims, Liberty failed to meet its obligations under the Texas Insurance Code

       regarding timely payment of the claim. Specifically, Maxwell's understatement of the

       damage to the Property caused Liberty to delay full payment of Plaintiffs claim longer

       than allowed, and Plaintiff has not received rightful payment for Plaintiffs claim .




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36.   Liberty and Maxwell's wrongful acts and omissions have forced Plaintiff lo retain the

      professional services of the attorneys and law firm representing her with respect to these

      causes of action .

       CAUSES OF ACTION AGAINST DEFENDANT LIBERTY INSURANCE
                           CORPORATION

37.   All paragraphs from the fact section of this petition are herehy incorporated into this

      section.

                                 BREACH OF CONTRACT

38.   Liberty is liable to Plaintiff for intentional violations of the Texas Insurance Code, an.d

      intentional breach of the common law duty of good faith and fair dealing. lt follows, then,

      that the breach of the statutory duties constitutes the foundation of an intentional breach of

      the insurance contract between Libe11y and Plaintiff.

39.   Liberty's failure and/or refusal to pay adequate coverage as obligated under the Policy, and

      under the laws of the State of Texas, constitutes a breach of Liberty' s insurance contract

      with Plaintiff.

            NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                   UNFAIR SETTLEMENT PRACTICES

40.   Liberty's conduct constitutes multiple violations of the Texas Insurance Code, Unfair

      Selllement Practices. TEX. INS. CODE §54 I .060(a). All violations under this article are

      actionable by TEX. INS. CODE §54 l.151.

41.   Liberty's unfair settlement practice of misrepresenting to Plaintiff material facts relating Lo

      coverage constitutes an unfair method of competition and a deceptive act or practice in the

      business of insurance. TEX. INS . CODE §54 I .060(a) ( l).


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42.    Liberty's unfair settlement practice of failing to atlempt in good faith lo make a prompt,

       fair, and equitable settlement of the claim. even though Liberty's liability under the Policy

       was reasonably clear. constitutes an unfair method of competition and a deceptive act or

       practice in the business of insurance. TEX. INS . CODE§541 .060(a) (2) (A) .

43.    Liberty's unfair settlement practice of failing lo provide Plaintiff a prompt and reasonable

       explanation of the basis in the Policy, in relation to the facts or applicable law. for

       underpayment and denial of the claim, constitutes an unfair method of competition and a

       deceptive act or practice in the business of insurance. TEX. INS. CODE §54l.060(a) (3).

44.    Liberty's unfair settlement practice of refusing to pay Plaintiff's full claim withoul

       conducting a reasonable investigation constitutes an unfair method of competition and a

       deceptive act or practice in the business of insurance. TEX. INS . CODE §541.060(a) (7).

             NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                    THE PROMPT PAYMENT OF CLAIMS

45 .   Liberty's conduct constitutes multiple violations of the Texas Insurance Code, Prompt

       Payment of Claims. All violations made under this article are actionable under TEX. INS.

       CODE §542.060.

46.    Liberty's delay in paying Plaintiff's claim following receipt of all items , statements. and

       fonns reasonably requested and required, for longer than the amount of time provided,

       constitutes a non-prompt payment of the claim. TEX. INS. CODE §542.058.

           BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

47.    Liberty's conduct constitutes a breach of the common law duty of good faith and fair

       dealing owed to an insured in insurance contracts.



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48.   Liberty's failure to adequately and reasonably investigate and evaluate Plaintiff's claim.

      even though Liberty knew or should have known by the exercise of reasonable diligence

      that liability was reasonably clear, constitutes a breach of the duty of good faith and fair

      dealing.

                                      DTPA VIOLATIONS

49.   Liberty's conduct constitutes multiple violations of the Texas Deceptive Trade Practices

      Act ("DTPA"), TEX. BUS. & COM . CODE 17.41-63. Plaintiff is a consumer of goods

      and services provided by Liberty pursuant to the DTPA. Plaintiff has met all conditions

      precedent to bring this cause of action against Libe11y. Specifically, Liberty's violations

      of the DTPA include, without limitation. the following matters:

      A.     By its acts, omissions, failures, and conduct, Liberty has violated sections

                 l 7.46(b)(2), (5), (7), (9), (12), (20) and (24) of the DTPA. Liberty's violations

             include, (1) unreasonable delays in the investigation, adjustment, and resolution of

             Plaintiffs claim, (2) failure co give Plaintiff the benefit of the doubt. and (3) failure

             to pay for the proper repair of Plaintiff's property when liability has become

             reasonably clear, which gives Plaintiff the right to recover under section

             17.46(b)(2).

      B.     Liberty represented lo Plaintiff that the Policy and Liberty's adjusting agent and

             investigative services had characte1istics or benefits they did not possess, which

             gives Plaintiff the right to recover under section J7.46(b)(5) of the DTPA.




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      C.      Liberty represented to Plaintiff that Liberty's Policy and adjusting services were of

             a particular standard, quality, or grade when they were of another, in violation of

              sec ti on 17.46(b)(7) of the DTP A.

      D.     Libe11y advertised the Policy and adjusting services with the intent not to sell them

             as advertised, in violation of section I 7.46(b)(9) of the DTPA.

      E.      Liberty breached an express warranty that the damages caused by wind and hail

              would be covered under the Policy. This breach entitles Plaintiff to recover under

              sections 17.46(b) (12) and (20) and 17.50(a) (2) of the DTPA.

      F.     Libe1ty's actions are unconscionable in that Liberty look advantage of Plaintiffs

              lack of knowledge, ability, and experience to a grossly unfair degree. Liberty's

              unconscionable conduct gives Plaintiff a right to relief under section I 7.50(a) (3)

             of the DTPA; and

      G.      Liberty's conduct, acts. omissions, and failures, as described in this petition, are

              unfair practices in the business of insurance in violation of section J7.50(a)(4) of

              the DTPA.

50.   Each of the above-described acts, omissions, and failures of Liberty is a producing cause

      of Plaintiffs damages. All of Liberty's acts, omissions, and failures were committed

      "knowingly" and "intentionally," as defined by the Texas Deceptive Trade Practices Act.

                                    NEGLIGENT HIRING

51.   Liberty has a basic duty as an employer who retains services of another to use reasonable

      care in investigating the background of that individual for fitness for the position. to remain

      knowledgeable of that fitness, and is liable if another person suffers damages because of a


                                                ll
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      lack of fitness. Defendant Libe1ty owed a duty to Plaintiff and that duty was breached.

52.   Liberty was negligent in that it knew or should have known that Maxwell was an

      incompetent adjuster and unfit to handle claims on behalf of Liberty. Specifical.ly. Liberty

      should have known Maxwell was incapable of performing the tasks necessary lo perform

      a reasonable property damage inspection.

53.   Liberty failed to investigate, screen or supervise Maxwell, who was the proximate cause

      of the damages suffered by Plaintiff in this action.

                                            FRAUD

54.   Liberty is liable to Plaintiff for common law fraud.

55.   Every misrepresentation described above concerned material facts that absent such

      representations, Plaintiff would not have acted as she did, and Liberty knew the

      representations were false or made recklessly without any knowledge of their trnth as a

      positive assertion.

56.   Liberty made these statements intending that Plaintiff acl upon them. Plaintiff then acted

      in reliance upon these statements,   ther~by   causing Plaintiff to suffer injury constituting

      common law fraud.

         CAUSES OF ACTION AGAINST DEFENDANT AIMEE MAXWELL

57.   All paragraphs from the fact section of this petition are hereby incorporated into this

      section.

            NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                   UNFAIR SETTLEMENT PRACTICES

58.   Maxwell's conduct constitutes multiple violations of the Texas Insurance Code, Unfair

      Claim Settlement Practices Act. TEX. INS. CODE §54 l.060(a).

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59.   Maxwell is individually liable for her unfair and deceptive acts, irrespective of the facl that

      she was acting on behalf of Liberty, because Maxwell is a "person" as defined by TEX.

      INS . CODE *541.002(2).

60.   Maxwell's unfair settlement practice of failing to atrempt in good faith to make a prompt,

      fair, and equitable settlement of the claims, even though liability under the Policy was

      reasonably clear, constitutes an unfair method of competition and a deceptive act or

      practice in the business of insurance. TEX . lNS . CODE §54 l.060(a) (2) (A).

61.   Max well' s unfair settlement practice of failing to provide Plaintiff a prompt and reasonable

      explanation of the basis in the Policy, in relation to the facts or applicable law, for

      underpayment of the claim, also constitutes an unfair method of competition and an unfair

      and deceptive act or practice. TEX. INS. CODE §54l.060(a) (3).

62.   Maxwell knowingly underestimated the amount of damage to the Property. As such,

      Maxwell failed to adopt and implement reasonable standards for the investigation of the

      claim arising under the Policy. TEX. INS. CODE §542.003(3).

63.   Furthermore, Maxwell did not attempt in good faith to affect a fair, prompt. and equitable

      seltlemenl of lhe claim. TEX. INS. CODE §542.003(4).

                                     DTPA VIOLATIONS

64.   Maxwell's conduct constitutes mulliple violalions of the Texas Deceptive Trade Practices

      Act ("DTPA"),.TEX. BUS. & COM. CODE 17.41-63. Plaintiff is a consumer of goods

      and services provided by Maxwell pursuant to the DTPA. Plaintiff has met all conditions

      precedent to bring this cause of action against Max well. Specifically, MaxwelF s violations

      of the DTPA include the following matters:


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    A.    By her acts, omissions, failures , and conduct. Maxwell has violated sections

          17.46(b) (2), (5), and (7) of the DTPA. Maxwell's violations include, (1) failure to

         give Plaintiff the benefit of the doubt. and (2) failure to wiite up an estimate

         reflecting the proper repair of Plaintiffs Property when liability has become

         reasonably clear. which gives Plaintiff the right to recover under section

          l7.46(b)(2).

    B.   Maxwell represented to Plaintiff that the Policy and her adjusting and

         investigative services had characteristics or benefits they did not possess, which

         gives Plaintiff the right to recover under section I 7.46(b)(5) of the DTPA.

    C.   Maxwell represented lo Plaintiff that the Policy and her adjusting services were of

         a particular standard, quality, or grade when they were of another, in violation of

         section 17.46(b) (7) of the DTPA.

    D.   Maxwell's actions are unconscionable in that Maxwell took advantage of Plaintiffs

         lack of knowledge, ability, and experience to a grossly unfair degree. Maxwell ' s

         unconscionable conduct gives Plaintiff a right to relief under section l7.50(a)(3) of

         the DTPA ; and

    E.   Maxwell ' s conduct, acts. omissions, and failures , as described in this petition , are

         unfair practices in the business of insurance in violation of section 17.50(a)(4) of

         the DTPA.




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65.   Each of Maxwell's above-desc1ibed acts, omissions, and failures is a producing cause of

      Plaintiffs damages. All. acts, omissions, and failures were committed "knowingly" and

      "intentionally" by Maxwell. as defined by the Texas Deceptive Trade Practices Act. TEX.

      BUS. & COM. CODE 17.45 .

                                       NEGLIGENCE

66.   Maxwell was negligent in her action and/or omission with regard to her adjusting of

      Plaintiffs claim. Maxwell violated the standard of care and fell below the applicable

      standard of an insurance adjuster licensed by the state of Texas . Those failures include one

      or more of the following acls or omissions:

      A.     Failure to conduct a reasonable inspection;

      B.     Failure to include covered damage that would be discovered as a result of a

             reasonable inspection;

      C.     Failure 10 identify the proper cause and scope of the damage to Plaintiffs Property;

      D.     Failure to properly identify the cost of proper repairs to Plaintiff's Property; and

      E.     Failure to communicate to Plaintiff the reasons for specific determinations made

             regarding the inclusion or exclusion of damage lo the Properly.

67.   Maxwell's acts and/or omissions constitute negligence. Her conduct was the proximate

      cause of the damages sustained by Plaintiff.

68.   At all relevant times, Maxwell was an agenl or employee of Defendant Liberty.

69.   Maxwell's unreasonable inspection was performed within the course and scope of her

      duties with Defendant Liberty. Therefore, Liberty is also liable for the negligence of

      Maxwell through the doctrine of respondeat superior.


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                                      GROSS NEGLIGENCE

70.   Maxwell's actions or omissions constitute gross negligence as defined in TEX. CJV. P. &

      REM. CODE§ 41.001 (ll)(A) and (B):

      A.       Maxwell's actions when viewed objectively from the standpoint of the actor at the

                   time of its occun-ence involved an extreme degree of 1isk of harm to Plaintiff.

               considering the probability and magnitude of potential harm to Plaintiff; and

      B.           Maxwell had actual, subjective awareness of the of the risk involved, but never-

               the-less, proceeded with conscious indifference to the rights, safety or welfare of

               Plaintiff.

71.   By Liberty's direction. Maxwell intentionally misrepresented the scope and amount of

      damages on the estimate prepared for Plaintiffs Property. Her estimate was to such an

      extreme degree bellow what another reasonable licensed adjuster would have done in that

      situation, and in complete disregard for the risk and harm Plaintiff would suffer if the actual

      damages to the Property were allowed to persist unrepaired.

                                          KNOWLEDGE

72.   Defendants made each of the acts described above, together and singularly, "knowingly,"

      as defined in the Texas Insurance Code, and each was a producing cause of Plaintiff's

      damages described herein.

                                    WA IVER AND ESTOPPEL

73.   Defendants waived and are estopped from asserting any coverage defenses, conditions,

      exclusions, or exceptions to coverage not contained in any reservation of rights letter to

      Plaintiff.


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                                           DAMAGES

74.   The damages caused to the Property have not been properly addressed or repaired since the

      claim was made, causing further damage to the Property. and undue hardship and burden

      to Plaintiff. These damages arc a direct result of Defendants' mishandling of Plaintiff's

      claims in violation of the laws set forth above. ·

75.   Plaintiff currently estimates that actual damages to the Property under the Policy are

      $38,642.24.

76.   Plaintiff would show that all of the aforementioned acts. taken together or singularly,

      constitute the producing causes of the damages sustained. The above desc1ibed acts,

      omissions, failures, and conduct of Defendants have caused Plaintiff's damages. which

      include. without limitation, the cost to properly repair Plaintiff's Property and any

      investigative and engineering fees incuii-ed.

77.   For breach of contract, Plaintiff is entitled lo regain the benefit of her bargain, which is the

      amount of her claims, consequential damages. together with attorney's fees.

78.   For noncompliance with the DTPA and Texas Insurance Code, Unfair Settlement Practices,

      Plaintiff is entitled lo actual damages. which include the loss of benefits owed pursuant to

      the Policy, mental anguish, court costs, and attorney's fees. For knowing and intentional

      conduct of the acts described above, Plaintiff asks for three (3) times her actual damages.

      TEX. INS. CODE §541.152 and TEX. BUS. & COM. CODE 17.50(b) (l ).




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79.   For noncompliance with Texas Insurance Code, Prompt Payment of Claims. Plaintiff is

      entitled to the amount of her claims, plus an eighteen percent ( 18%) per annum penalty on

      those claims, as damages. as well as pre-judgment interest and reasonable attorney's fees .

      TEX. INS . CODE §542.060.

80.   For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

      compensatory damages, including all forms of loss resulting from Defendants' breach of

      duty, such as additional costs, economic hardship, losses due to the nonpayment of the

      amount Liberty owed, exemplary damages, and damages for emotional distress.

81.   Defendants' breach of the common law duty of good faith and fair dealing was committed

      intentionally, with a conscious indifference to Plaintiffs rights and welfare, and with

      "malice," as that tennis defined in Chapter 41 of the Texas Civil Practices and Remedies

      Code. These violations are the type of conduct whi.ch the State of Texas protects its citizens

      against by the imposition of exemplary damages. Therefore, Plaintiff seeks the recovery

      of exemplary damages in an amount determined by the finder of fact sufficient to punish

      Defendants for their wrongful conduct, and to set an example to deter Defendants and

      others from committing similar acts in the future.

82.   For fraud, Plaintiff is entitled to recover actual and exemplary damages for knowingly

      fraudulent and malicious representations, along with attorney's fees, interest, and cou1t

      costs.




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83.   For the prosecution and collection of this claim, Plaintiff has been compelled to engage the

      services of the attorneys subscrihed to this pleading. Therefore, under Chapter 38 of the

      Texas Civil Practices and Remedies Code, sections 541 and 542 of the Texas Jnsurancc

      Code, and section 17.50 of the DTPA, Plaintiff is entitled to recover a sum for the

      reasonable and necessary services of Plaintiff's attorneys in the preparation and trial of this

      action, including any appeals to the Court of Appeals and/or the Supreme Court of Texas.

84.   As required by Rule 47(b) of the Texas Rules of Civil Procedure, Plaintiff's counsel states

      that the damages sought are in an amount within the jurisdictional limits of this Court. As

      required by Rule 47(c)(3) of the Texas Rules     o[ Civil   Procedure, Plaintifrs counsel slates

      that Plaintiff seeks only monetary relief of no less than $ l00,000.00. but no more than

      $200,000.00, including damages of any kind, penalties, costs. expenses, pre-judgment

      interest, and attorney fees. A jury will ultimately determine the monetary relief actually

      awarded, however. Plaintiff also seeks pre-judgment and post-judgment interest at the highest

      legal rate.

                               REQUESTS FOR DISCLOSURE

85.   Under Texas Rules of Civil      Proce~ure    190 and 194, Plaintiff requests that Defendants

      disclose. within fifty (50) days from the date this request is served, the information or material

      described in Rules 190.2(b)(6) and 194.2.

                                        JURY DEMAND

86.   Plaintiff hereby requests a jury trial for all causes of action alleged herein, tried before a

      jury consisting of citizens residing in Hcu-ris County, Texas. Plaintiff hcrehy tenders the

      appropriate jury fee.


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                                              PRAYER

        Plaintiff prays that Defendants, Liberty Insurance Corporation and Aimee Maxwell, be

cited and served to appear. and that upon trial hereof, Plaintiff, Pat1icia Turner, recovers from

Defendants, Liberty Insurance Corporation and Aimee Maxwell, such sums as would reasonably

and justly compensate Plaintiff in accordance with the rules of .law and procedure, as to actual,

consequential, and treble damages under the Texas Insurance Code and Texas Deceptive Trade

Practices Act, and all punitive, additional, and exemplary damages as may be found. In addition,

Plaintiff requests the award of attorney's fees for the trial and any appeal of this case, for all costs

of Court expended on Plaintiff's behalf, for pre-judgment and post-judgment interest as allowed

by law, and for any other relief, at law or in equity. to which Plaintiff may show herself justly

entitled.

                                                                Respectfully submitted,

                                                       CHAD T . WILSON LAW FIRM       PLLC

                                                                By: /s/ Chad T Wilson

                                                               Chad T. Wilson
                                                               Bar No. 24079587
                                                               Stephen Me.ngis
                                                               Bar No . 24094842
                                                               1322 Space Park Drive, Suile A 155
                                                               Houston, Texas 77058
                                                               Telephone: (832) 415-1432
                                                               Facsimile: (281) 940-2137
                                                               cScrvicc to:
                                                               escrvice@cwilsonlaw.com
                                                               cwilson@cwi lsonlaw.com
                                                               smcngis@cwi Ison law .com

                                                                ATTORNEYS FOR PLAINTJFF




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   CHRIS DANIEL
HARRIS COUNTY DISTRICT CLERK
      P.O. Box 4651
HOUSTON, TEXAS 77210-4651
                               7014 1a20 0001 6309 a943




                                                                         Liberty Insurance Corporation
                                                                       c/o Corporation Service Company
                                                                          211 East ih Street Suite 620
                                                                           Austin, Texas 78701-3218




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